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                      UNITED STATE DISTRICT COURT
                           DISTRICT OF IDAHO

PLANNED PARENTHOOD GREAT NORTH-
WEST, HAWAII, ALASKA, INDIANA, KEN-              Case No. 1:23-cv-00142-BLW
TUCKY, on behalf of itself, its staff, physi-
cians and patients, et al.                       AMENDED NOTICE OF AP-
                Plaintiffs,                      PEARANCE

v.
RAÚL LABRADOR, in his capacity as the At-
torney General of the State of Idaho, et al,
                Defendants.



      NOTICE IS HEREBY GIVEN that Brian V. Church, Deputy Attorney General,

hereby appears as an attorney of record for Defendants Raúl Labrador; Adam McKen-

zie, Bear Lake County Prosecutor; Bryan Taylor, Canyon County Prosecutor; S. Doug-




                                            AMENDED NOTICE OF APPEARANCE – 1
       Case 1:23-cv-00142-BLW Document 124 Filed 05/05/23 Page 2 of 3




las Wood, Caribou County Prosecutor; and Justin Coleman, Nez Perce County Pros-

ecutor. All future pleadings, submissions and correspondence should be addressed to

Brian V. Church as counsel for the aforementioned Defendants.

      DATED: May 5, 2023.

                                      STATE OF IDAHO
                                      OFFICE OF THE ATTORNEY GENERAL


                                   By:   /s/ Brian V. Church
                                           BRIAN V. CHURCH
                                           Deputy Attorney General




                                           AMENDED NOTICE OF APPEARANCE – 2
       Case 1:23-cv-00142-BLW Document 124 Filed 05/05/23 Page 3 of 3




                          CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 5, 2023, I electronically filed the foregoing with
the Clerk of the Court using the CM/ECF system which sent a Notice of Electronic
Filing to the following persons:

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                                        /s/ Brian V. Church
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                                       Deputy Attorney General




                                            AMENDED NOTICE OF APPEARANCE – 3
